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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
DMP/CRH/AAS:ICR/SKW/EHS                             271 Cadman Plaza East
F. #2022R00326                                      Brooklyn, New York 11201


                                                    April 28, 2022

By E-Mail and ECF

The Honorable Roanne L. Mann
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Frank James
                      Magistrate Docket No. 22-429

Dear Judge Mann:

               The government respectfully submits this letter pursuant to the Court’s April 28,
2022 Order directing a response to the defendant’s letter motion dated April 28, 2022 (ECF No.
10) (the “April 28 Motion”). The defendant moves for an order compelling the disclosure of (1)
the underlying affidavit upon which the DNA buccal swab search warrant was issued; (2) all
documents signed by the defendant; and (3) the sum and substance of any statements made by
him on April 26, 2022. (April 28 Motion at 2.) Contrary to the defendant’s hyperbole, his DNA
was obtained pursuant to a judicially authorized search warrant and no violations of any of the
defendant’s constitutional rights occurred in the execution of the warrant.

               As to the first request, the defendant already has access to the search warrant
affidavit. The affidavit in support of the search warrant for DNA buccal swab samples was filed
publicly with the redactions required by Rule 49.1 on April 22, 2022—the day the application
was made to Magistrate Judge Bloom—and is accessible to defense counsel and the public on
ECF. See Docket No. 22-MJ-457 (LB) (E.D.N.Y. Apr. 22, 2022). Thus, this request is moot.
The government attaches the affidavit hereto for the Court’s convenience. See Exhibit A.

                With regard to the second and third requests, the defendant’s claims about
eliciting statements from the defendant are inaccurate. It is the government’s understanding that
in the brief period required to take the buccal swab samples, the defendant was not questioned by
and made no relevant statements to the law enforcement officers who executed the search
warrant. The executing law enforcement officers also did not direct the defendant to sign any
documents. Thus, the government obtained no relevant statements during the execution of the
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search warrant that would be subject to disclosure under Rule 16(a)(1)(A). Accordingly, these
requests are moot.

                 In any event, Rule 16 does not entitle the defendant to pre-indictment discovery.
See, e.g., In re Possible Violations of 18 U.S.C. §§ 201, 371, 491 F. Supp. 211, 214 (D.D.C.
1980) (“Rule 16(a)(1)(A) applies only to defendants; it governs discovery of evidence after the
return of an indictment; it is available to Congressman Kelly only if he should be indicted by a
grand jury.”); see also In re Search Warrants Executed on Apr. 28, 2021, No. 21-MC-425 (JPO),
2021 WL 2188150, at *3 (S.D.N.Y. May 28, 2021) (“Giuliani requests that the Court unseal the
affidavits submitted in support of the 2019 and 2021 warrants so he can challenge their legality.
But he is not entitled to a preview of the Government’s evidence in an ongoing investigation
before he has been charged with a crime.”). Thus, the defendant’s requests are also premature as
a matter of law.

                 Should the defendant wish to file a motion to suppress evidence, he may do so
after he is indicted, and the government will respond to the defendant’s concerns regarding the
reasonableness of the warrant’s execution at that time. See In re Search Warrants, 2021 WL
2188150, at *3 (“If Giuliani is charged with a crime, of course, he will be entitled to production
of the search warrant affidavits as part of discovery pursuant to Federal Rule of Criminal
Procedure 16. He will also be able to file motions challenging the warrants under Rule 12. But
such disclosure is premature at the present stage.”). Any such motion should be presented to a
district judge with jurisdiction to decide it. See 28 U.S.C. § 636(b)(1)(A) (“[A] judge may
designate a magistrate judge to hear and determine any pretrial matter pending before the court,
except a motion . . . to suppress evidence in a criminal case . . . .”).

               For the foregoing reasons, the defendant’s motion should be denied.


                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:     /s/
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                                                     Sara K. Winik
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cc:    Clerk of Court (RLM) (by ECF)
       Ms. Mia Eisner-Grynberg, Esq. (Counsel for the defendant) (by ECF)




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